                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 MICHELLE L. ALMANZA,                        )
                                             )
               Plaintiff,                    )
        v.                                   )              CIV. NO.: 3:15-cv-389
                                             )              (VARLAN/GUYTON)
 JEFFERSON B. SESSIONS III,                  )
 Attorney General,                           )
 United States Department of Justice,        )
                                             )
               Defendant.                    )

   DEFENDANT’S RESPONSE PURSUANT TO ORDER ON SCOPE OF DISCOVERY

    The United States Department of Justice (hereinafter “Defendant”), by and through Attorney

 General Jefferson B. Sessions, United States Attorney Benjamin C. Glassman, and Special

 Attorneys Christopher R. Yates and Brandi M. Stewart, hereby responds to this Court’s “Order,”

 filed September 5, 2017, (ECF No. 18), pursuant to a telephonic conference of the parties on

 August 18, 2017. Instruction therein stated, verbatim:

    With respect to the EARS Review, the Plaintiff explained that it was a performance audit
    of the office performed by an outside organization in 2016. The Defendants are
    INSTRUCTED to determine whether the EARS Review addresses performances during
    the relevant time period described above. The Defendants SHALL notify the Court and
    the Plaintiff of their determination within fourteen (14) days of entry of this Order. The
    Court will then determine whether an in-camera review is necessary. See ECF No. 18.

    By answer to the foregoing instruction by this Court, attached please find the “Declaration of

 William R. Chambers, Jr.,” Assistant United States Attorney for the Northern District of Alabama

 and EARS Program Manager for the United States Department of Justice, Executive Office for the

 United States Attorneys (EOUSA) in Washington, D.C.



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    As an individual qualified to attest to same, Mr. Chambers affirms that, on the basis of his

 review of the 2016 EARS Report for the Eastern District of Tennessee, and “[his] personal, first-

 hand knowledge of same, there is absolutely no fact, statement, statistic, or reference in the 2016

 EARS Report for the Eastern District of Tennessee addressing the performance of any employee

 of the United States Attorney’s Office of the Eastern District of Tennessee for the relevant time

 period of January 1, 2012, through and including December 28, 2014.”

    Defendant respectfully submits that the foregoing information and attached declaration is

 satisfaction of the quoted portion of this Court’s Sept. 5, 2017, Order, (ECF No. 18), and remain

 at the service of this Court should it have questions, concerns, or further instruction.

                                                    Respectfully submitted,

                                                    JEFFERSON B. SESSIONS III
                                                    ATTORNEY GENERAL

                                                    BENJAMIN C. GLASSMAN
                                                    UNITED STATES ATTORNEY

                                                    s/ Christopher R. Yates
                                                    CHRISTOPHER R. YATES (0064776)
                                                    Special Attorney
                                                    Assistant United States Attorney
                                                    Attorney for Defendant
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                                                    -AND-




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                                                  BRANDI M. STEWART
                                                  Special Attorney
                                                  Assistant United States Attorney
                                                  Attorney for Defendant
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                                                  Dayton, OH 45402
                                                  (937) 225-2910
                                                  brandi.stewart@usdoj.gov



                                 CERTIFICATE OF SERVICE

    I hereby certify that on September 14, 2017, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system which will send notification of such filing to Jennifer B.

 Morton, Esq. and Maha M. Ayesh, Esq., Counsel for Plaintiff.



                                                     s/Christopher R. Yates
                                                     CHRISTOPHER R. YATES (0064776)
                                                     Assistant United States Attorney




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